Execution List 2018

Nineteen prisoners have been executed in the United States in 2018. Eight states have carried out executions.

 Date       Number      State            Name            Age   Race       Victim Race          Method              Drug Protocol          Years From
           Since 1976                                                                                                                     Sentence To
                                                                                                                                           Execution

 1/18/18         1466 TX        Anthony Shore             55 White     1 Latina female     Lethal Injection 1-drug (Pentobarbital)                 12

 1/30/18         1467 TX        William Rayford           64 Black     1 Black female      Lethal Injection 1-drug (Pentobarbital)                 17

  2/1/18         1468 TX        John David Battaglia      62 White     2 White females     Lethal Injection 1-drug (Pentobarbital)                 16

 2/22/18         1469 FL        Eric Scott Branch         47 White     1 White female      Lethal Injection 3-drug (Etomidate)                     23

 3/15/18         1470 AL        Michael Eggers*           50 White     1 White female      Lethal Injection 3-drug (Midazolam)                     15

 3/15/18         1471 GA        Carlton Michael Gary      67 Black     3 White females     Lehtal Injection 1-drug (Pentobarbital)                 31

 3/27/18         1472 TX        Rosendo Rodriguez III     38 Latino    1 White female      Lehtal Injection 1-drug (Pentobarbital)                  9

 4/19/18         1473 AL        Walter Leroy Moody        83 White     1 White male        Lethal Injection 3 drug (Midazolam)                     22

 4/25/18         1474 TX        Erick Daniel Davila       31 Black     2 Black females     Lethal Injection 1-drug (Pentobarbital)                  9

  5/4/18         1475 GA        Robert Earl Butts, Jr.    40 Black     1 Black male        Lethal Injection 1-drug (Pentobarbital)                 19

 5/16/18         1476 TX        Juan Castillo             37 Latino    1 Latino male       Lethal Injection 1-drug (Pentobarbital)                 12

 6/27/18         1477 TX        Danny Bible               66 White     1 White female      Lethal Injection 1-drug (Pentobarbital)                 14

 7/17/18         1478 TX        Christopher Young         34 Black     1 South Asian male Lethal Injection 1-drug (Pentobarbital)                  12

 7/18/18         1479 OH        Robert Van Hook           58 White     1 White male        Lethal Injection 3-drug (Midazolam)                     32

  8/9/18         1480 TN        Billy Ray Irick           59 White     1 White female      Lethal Injection 3-drug (Midazolam)                     32

 8/14/18         1481 NE        Carey Dean Moore*         60 White     2 White males       Lethal Injection 4-drug (Diazepam, Fentanyl)            38

 9/26/18         1482 TX        Troy Clark                51 White     1 White Female      Lethal Injection 1-drug (Pentobarbital)                 18

 9/27/18         1483 TX        Daniel Acker              46 White     1 White Female      Lethal Injection 1-drug (Pentobarbital)                 17

10/29/18         1484 SD        Rodney Berget*            56 White     1 White Male        Lethal Injection 1-drug (Pentobarbital)                  7




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